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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    AMERIFIRST FINANCIAL, INC.,1                                     ) Case No. 23-11240 (TMH)
                                                                     ) (Jointly Administered)
                                              Debtors.               )
                                                                     )

                 AMENDED2 NOTICE OF AGENDA OF MATTERS
              SCHEDULED FOR HEARING ON NOVEMBER 21, 2023
           AT 12:30 P.M.3 (EASTERN TIME) BEFORE THE HONORABLE
    THOMAS M. HORAN IN THE U.S. BANKRUPTCY COURT, 824 NORTH MARKET
    STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801



               PLEASE NOTE NEW HEARING START TIME OF 12:30 PM (ET).



       This hearing will be conducted in person. All participants (including witnesses) at an in-
    person hearing are required to attend in person, except that remote participation at an in-person
        hearing is permitted for: (i) counsel for a party or a pro se litigant that files a responsive
    pleading and intends to make only a limited argument; (ii) a party or a representative of a party
     that has not submitted a pleading but is interested in observing the hearing; (iii) any party that
           is proceeding, in a claims allowance dispute, on a pro se basis; or (iv) extenuating
          circumstances that warrant remote participation as may be determined by the Court.

     If appearance via Zoom is permitted, please use the following link to register for this hearing
    to appear via Zoom. All individuals participating by video must register by 4:00 p.m. Eastern
    Time on November 20, 2023. After registering your appearance by Zoom, you will receive a
                 confirmation email containing information about joining the hearing.

       https://debuscourts.zoomgov.com/meeting/register/vJIsc-GgpzMvGCzju4q4ZcFNInmrwgS5HoI

                    COURTCALL WILL NOT BE USED FOR THIS HEARING.


1
  The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040
LLC (2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W. Chandler Boulevard,
Suite 225, Unit 236, Chandler, AZ 85225.
2
  Amended items appear in bold.
3
  The Court has directed that the hearing will begin at 12:30 p.m. (ET).


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RESOLVED MATTERS

1.       lslandDundon Retention Application – Application of the Official Committee of
         Unsecured Creditors of AmeriFirst Financial, Inc., et al., for Entry of an Order
         Authorizing and Approving the Employment and Retention of IslandDundon LLC as
         Financial Advisor Effective as of October 3, 2023 [Filed: 10/27/23] (Docket No. 366).

         Response Deadline: November 10, 2023 at 4:00 p.m. Eastern Time.

         Responses Received:

         a) Informal comments from the Office of the United States Trustee (the “UST”).

         Related Documents:

         a) Certification of Counsel Regarding Application of the Official Committee of
            Unsecured Creditors of AmeriFirst Financial, Inc., et al., for Entry of an Order
            Authorizing and Approving the Employment and Retention of IslandDundon LLC as
            Financial Advisor Effective as of October 3, 2023 [Filed: 11/13/23] (Docket No.
            427).

         b) [Signed] Order Authorizing and Approving the Retention of IslandDundon LLC as
            Financial Advisor to the Official Committee of Unsecured Creditors of AmeriFirst
            Financial, Inc., et al., Effective as of October 3, 2023 [Filed: 11/14/23] (Docket No.
            429).

         Status: The order has been entered. No hearing will be necessary.

2.       Morris Nichols Retention Application – Application of the Official Committee of
         Unsecured Creditors for Entry of an Order Authorizing Retention and Employment of
         Morris, Nichols, Arsht & Tunnell LLP as Bankruptcy Counsel Nunc Pro Tunc to
         September 21, 2023 [Filed: 10/30/23] (Docket No. 370).

         Response Deadline: November 13, 2023 at 4:00 p.m. Eastern Time.

         Responses Received: None.

         Related Documents:

         a) Supplemental Declaration of Robert J. Dehney, Sr. in Support of the Application of
            the Official Committee of Unsecured Creditors for Entry of an Order Authorizing
            Retention and Employment of Morris, Nichols, Arsht & Tunnell LLP as Bankruptcy
            Counsel Nunc Pro Tunc to September 21, 2023 [Filed: 11/9/23] (Docket No. 422).

         b) Certificate of No Objection Regarding Application of the Official Committee of
            Unsecured Creditors for Entry of an Order Authorizing Retention and Employment of
            Morris, Nichols, Arsht & Tunnell LLP as Bankruptcy Counsel Nunc Pro Tunc to
            September 21, 2023 [Filed: 11/14/23] (Docket No. 432).


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         c) [Signed] Order Authorizing the Retention and Employment of Morris, Nichols, Arsht
            & Tunnell LLP as Bankruptcy Counsel for the Official Committee of Unsecured
            Creditors Nunc Pro Tunc to September 21, 2023[Filed: 11/15/23] (Docket No. 433).

         Status: The order has been entered. No hearing will be necessary.

3.       Jaburg Wilk Retention Application – Debtors’ Application for Authorization to
         Employ and Retain Jaburg & Wilk, P.C. as Special Counsel for the Debtors Effective as
         of October 30, 2023 [Filed: 10/31/23] (Docket No. 375).

         Response Deadline: November 14, 2023 at 4:00 p.m. Eastern Time.

         Responses Received: None.

         Related Documents:

         a) Certification of No Objection Regarding Debtors’ Application for Authorization to
            Employ and Retain Jaburg & Wilk, P.C. as Special Counsel for the Debtors Effective
            as of October 30, 2023 [Filed: 11/16/23] (Docket No. 438).

         b) [Signed] Order Authorizing the Employment and Retention of Jaburg & Wilk, P.C. as
            Special Counsel for the Debtors Effective as of October 30, 2023 [Filed: 11/17/23]
            (Docket No. 443)

         Status: The order has been entered. No hearing will be necessary.

4.       Motion to Approve Stipulations – Debtors’ Motion for Entry of Order Approving
         Stipulations Between (I) Debtors and Freddie Mac and (II) Debtors and Fannie Mae, for
         the Provision of Adequate Protection and Adequate Assurances Relating to the Servicing
         of Freddie Mac and Fannie Mae Loans [Filed: 10/31/23] (Docket No. 376).

         Response Deadline: November 14, 2023 at 4:00 p.m. Eastern Time. Extended to
         November 16, 2023 at 4:00 p.m. Eastern Time for Freddie Mac and Fannie Mae.

         Responses Received:

         a) Informal comments from Freddie Mac and Fannie Mae.

         Related Documents:

         a) Certification of Counsel Regarding Debtors’ Motion for Entry of Order Approving
            Stipulations Between (I) Debtors and Freddie Mac and (II) Debtors and Fannie Mae,
            for the Provision of Adequate Protection and Adequate Assurances Relating to the
            Servicing of Freddie Mac and Fannie Mae Loans [Filed: 11/16/23] (Docket No. 440).

         b) [Signed] Order Approving Stipulation [Filed: 11/17/23] (Docket No. 445).

         Status: The order has been entered. No hearing will be necessary.


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5.       Bar Date Motion – Debtors’ Motion for Entry of an Order: (I) Setting Bar Dates for
         Filing Proofs of Claim, Including Requests for Payment Under Section 503(b)(9) of the
         Bankruptcy Code; (II) Setting a Bar Date for the Filing of Proofs of Claim By
         Governmental Units; (III) Setting a Bar Date for the Filing of Requests for Allowance of
         Administrative Expense Claims; (IV) Establishing an Amended Schedules Bar Date and
         a Rejection Damages Bar Date; (V) Approving the Form of and Manner for Filing Proofs
         of Claim; (VI) Approving a Notice of Bar Dates; and (VII) Granting Related Relief
         [Filed: 11/7/23] (Docket No. 418).

         Response Deadline: November 14, 2023 at 4:00 p.m. Eastern Time.

         Responses Received: None.

         Related Documents:

         a) Notice of Filing of Exhibit B to Debtors’ Motion for Entry of an Order: (I) Setting
            Bar Dates for Filing Proofs of Claim, Including Requests for Payment Under Section
            503(b)(9) of the Bankruptcy Code; (II) Setting a Bar Date for the Filing of Proofs of
            Claim By Governmental Units; (III) Setting a Bar Date for the Filing of Requests for
            Allowance of Administrative Expense Claims; (IV) Establishing an Amended
            Schedules Bar Date and a Rejection Damages Bar Date; (V) Approving the Form of
            and Manner for Filing Proofs of Claim; (VI) Approving a Notice of Bar Dates; and
            (VII) Granting Related Relief [Filed: 11/9/23] (Docket No. 423).

         b) Certification of No Objection Regarding Debtors’ Motion for Entry of an Order: (I)
            Setting Bar Dates for Filing Proofs of Claim, Including Requests for Payment Under
            Section 503(b)(9) of the Bankruptcy Code; (II) Setting a Bar Date for the Filing of
            Proofs of Claim By Governmental Units; (III) Setting a Bar Date for the Filing of
            Requests for Allowance of Administrative Expense Claims; (IV) Establishing an
            Amended Schedules Bar Date and a Rejection Damages Bar Date; (V) Approving the
            Form of and Manner for Filing Proofs of Claim; (VI) Approving a Notice of Bar
            Dates; and (VII) Granting Related Relief [Filed: 11/16/23] (Docket No. 439).

         c) [Signed] Order: (I) Setting Bar Dates for Filing Proofs of Claim, Including Requests
            for Payment Under Section 503(b)(9) of the Bankruptcy Code; (II) Setting a Bar Date
            for the Filing of Proofs of Claim By Governmental Units; (III) Setting a Bar Date for
            the Filing of Requests for Allowance of Administrative Expense Claims; (IV)
            Establishing an Amended Schedules Bar Date and a Rejection Damages Bar Date;
            (V) Approving the Form of and Manner for Filing Proofs of Claim; (VI) Approving a
            Notice of Bar Dates; and (VII) Granting Related Relief [Filed: 11/17/23] (Docket No.
            444).

         Status: The order has been entered. No hearing will be necessary.

MATTERS GOING FORWARD

6.       DIP Motion – Motion of the Debtors for Interim and Final Orders (I) Authorizing
         Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)

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         Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
         Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/29/23]
         (Docket No. 21).

         Response Deadline: October 20, 2023.

         Responses Received:

         a) Informal comments received from GNMA and the FHA.

         b) Emergency Motion of Eric Bowlby to Adjourn the September 18, 2023 Hearing and
            September 13, 2023 Objection Deadline of Debtors’ Motion for Entry of a Final
            Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
            Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
            Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
            Related Relief [Filed: 9/12/23] (Docket No. 113).

              (i) [Signed] Order Denying Emergency Motion of Eric Bowlby to Adjourn the
                  September 18, 2023 Hearing and September 13, 2023 Objection Deadline of
                  Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                  Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                  Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                  Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 9/13/23]
                  (Docket No. 115).

         c) Preliminary Objection of Eric Bowlby to Debtors’ First Day Motions [Filed: 8/30/23]
            (Docket No. 44).

         d) Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final
            Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
            Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
            Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting
            Related Relief [Filed: 9/13/23] (Docket No. 116).

              (i) Declaration of Eric Bowlby, Former CEO and Majority Shareholder of AFI, in
                  Support of Eric Bowlby’s Supplemental Objection to Debtors’ Motion for Entry
                  of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing and
                  (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                  Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing,
                  and (V) Granting Related Relief [Filed: 9/22/23] (Docket No. 154).

         e) Statement of the Official Committee of Unsecured Creditors Concerning the Debtors’
            First Day Motions and Requesting Status Conference [Filed: 9/27/23] (Docket No.
            171).

         f) United States Trustee’s Objection to Debtors’ Motion for Final Order (I) Authorizing
            Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)


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              Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
              Stay, and (IV) Granting Related Relief [Filed: 10/13/23] (Docket No. 254).

         g) [SEALED] Preliminary Objection of Official Committee of Unsecured Creditors to
            Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/13/23]
            (Docket No. 256).

              (i) [UNREDACTED] Preliminary Objection of Official Committee of Unsecured
                  Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing
                  Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                  (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the
                  Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                  Relief [Filed: 11/6/23] (Docket No. 403).

         h) [Redacted] Preliminary Objection of the Official Committee of Unsecured Creditors
            to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 10/18/23]
            (Docket No. 281).

         i) [SEALED] Amended and Restated Objection of the Official Committee of Unsecured
            Creditors to Motion of the Debtors for Interim and Final Orders (I) Authorizing
            Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II)
            Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic
            Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed:
            10/22/23] (Docket No. 310).

             (i) [UNREDACTED] Amended and Restated Objection of the Official Committee of
                 Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
                 Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                 Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III)
                 Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                 Granting Related Relief [Filed: 11/6/23] (Docket No. 404).

         j) [REDACTED] Amended and Restated Objection of the Official Committee of
            Unsecured Creditors to Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 10/25/23] (Docket No. 352).

         Replies:



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         a) Reply of the Debtors in Support of Motion of the Debtors for Interim and Final Order
            (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 9/14/23] (Docket No. 118).

         b) Debtors’ Supplemental Omnibus Reply in Support of Motion for Interim and Final
            Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
            Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
            (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
            Granting Related Relief [Filed: 10/24/23] (Docket No. 338).

         c) [SEALED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and
            RCP Customized Credit Fund (Fund IV-A), L.P. in Further Support of Debtors’
            Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
            Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
            Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
            Hearing, and (V) Granting Related Relief [Filed: 10/24/23] (Docket No. 335).

              i.    Motion of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
                    Customized Credit Fund (Fund IV-A), L.P. for Leave to File and Serve a Late
                    Reply in Further Support of the Debtors’ DIP Motion [Filed: 10/24/23] (Docket
                    No. 336).

             ii.    [Signed] Order Granting Motion of RCP Credit Opportunities Fund Loan SPV
                    (Fund III), L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. for Leave to
                    File and Serve a Late Reply in Further Support of the Debtors’ DIP Motion
                    [Filed: 10/25/23] (Docket No. 342).

            iii.    Motion for Entry of an Order Authorizing the Filing of the Reply of RCP Credit
                    Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund
                    (Fund IV-A), L.P. in Further Support of the Debtors’ DIP Motion Under Seal
                    [Filed: 10/27/23] (Docket No. 368).

            iv.     United States Trustee’s Omnibus Objection to Motions to File Under Seal [Filed:
                    11/2/23] (Docket No. 384).

             v.     Notice of Withdrawal of Docket Nos. 368 and 369 [Filed: 11/6/23] (Docket No.
                    409).

            vi.     [UNSEALED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III),
                    L.P. and RCP Customized Credit Fund (Fund IV-A), L.P. in Further Support of
                    Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain
                    Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
                    Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
                    Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 11/6/23]
                    (Docket No. 410).


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         d. [REDACTED] Reply of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.
            and RCP Customized Credit Fund (Fund IV-A), L.P., in Further Support of Debtors’
            Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Post-Petition
            Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
            Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
            Hearing, and (V) Granting Related Relief [D.I.21] [Filed: 10/27/23] (Docket No.
            369).

              i.    Notice of Withdrawal of Docket Nos. 368 and 369 [Filed: 11/6/23] (Docket No.
                    409).

         Related Documents:

         a) Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 8/29/23] (Docket No. 37).

         b) Notice of Filing of Revised Proposed Interim Order (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/30/23] (Docket
            No. 47).

         c) Certification of Counsel Regarding Interim Order (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV)
            Scheduling a Final Hearing, and (V) Granting Related Relief [Filed: 8/31/23] (Docket
            No. 57).

         d) [Signed] Interim Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
            and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
            Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
            (V) Granting Related Relief [Filed: 8/31/23] (Docket No. 61).

         e) Notice of Entry of Interim Order and Final Hearing Regarding Motion of the Debtors
            for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
            Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
            Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
            Hearing, and (V) Granting Related Relief [Filed: 9/1/23] (Docket No. 67).

         f) Notice of Filing of Proposed Final Order (I) Authorizing Debtors (A) to Obtain
            Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
            Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and (IV)
            Granting Related Relief [Filed: 9/7/23] (Docket No. 82).

         g) Notice of Filing of Budget [Filed: 9/8/23] (Docket No. 87).

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         h) Debtors’ Witness and Exhibit List for Hearing on September 18, 2023 at 2:00 p.m.
            (ET) [Filed: 9/14/23] (Docket No. 119).

         i) Notice of Emergency Zoom Hearing September 15, 2023 at 4:00 p.m. [Filed:
            9/15/23] (Docket No. 123).

         j) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 9/18/23] (Docket No. 138).

         k) Eric Bowlby’s Witness List and Exhibit List for Hearing on September 26, 2023 at
            11:00 a.m. (ET) [Filed: 9/22/23] (Docket No. 155).

         l) Debtors’ Witness and Exhibit List for Hearing on October 2, 2023 at 11:00 a.m. (ET)
            [Filed: 9/28/23] (Docket No. 175).

         m) Certification of Counsel Regarding Scheduling and Protective Order [Filed: 10/3/23]
            (Docket No. 203).

         n) [Signed] Scheduling and Protective Order [Filed: 10/5/23] (Docket No. 222).

         o) Notice of Filing of Proposed Revised Final Order (I) Authorizing Debtors (A) to
            Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
            Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, and
            (IV) Granting Related Relief [Filed: 10/6/23] (Docket No. 231).

         p) Debtors’ Witness and Exhibit List for Hearing on October 26, 2023 at 10:00 a.m.
            (ET) [Filed: 10/24/23] (Docket No. 328).

         q) Witness and Exhibit List of the Official Committee of Unsecured Creditors for
            October 26, 2023, Hearing [Filed: 10/24/23] (Docket No. 330).

         r) Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP
            Customized Credit Fund (Fund-Iv-A), L.P. for the Hearing on October 26, 2023 at
            10:00 a.m. (ET) [Filed: 10/24/23] (Docket No. 339).

         s) Debtors’ Amended Witness and Exhibit List for Hearing on October 26, 2023 at
            10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 349).

         t) Notice of Filing of Revised Budget [Filed 10/25/23] (Docket No. 353).

         u) Debtors’ Second Amended Witness and Exhibit List for Hearing on October 26, 2023
            at 10:00 a.m. (ET) [Filed: 10/25/23] (Docket No. 354).




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         v) Amended Exhibit List of RCP Credit Opportunities Fund Loan SPV (Fund III), L.P.
            and RCP Customized Credit Fund (Fund-IV-A), L.P. for the Hearing on October 26,
            2023 at 10:00 a.m. (ET) [Filed: 10/26/23] (Docket No. 356).

         w) Re-Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
            Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
            Collateral, (II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying
            the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
            Relief [Filed: 10/27/23] (Docket No. 365).

         x) [Signed] Order Continuing Final Hearing on Motion of the Debtors for Interim and
            Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
            Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Lenders,
            (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
            Granting Related Relief [Filed: 11/16/23] (Docket No. 435).

         y) Notice of Filing of Further Revised Budget [Filed: 11/17/23] (Docket No. 447).

         z) Debtors’ Witness and Exhibit List for Hearing on November 21, 2023 at 2:00
            p.m. (ET) [Filed: 11/17/23] (Docket No. 453).

         aa) Second Amended Exhibit List of RCP Credit Opportunities Fund Loan SPV
             (Fund III), L.P. and RCP Customized Credit Fund (Fund-IV-A), L.P. for the
             Hearing on November 21, 2023 at 2:00 p.m. (ET) [Filed: 11/17/23] (Docket No.
             454).

         Status: This matter will go forward.

7.       Money Source Sale Motion – Debtors’ Motion for Entry of Order (I) Authorizing (A)
         Private Sale and (B) Transfer of Certain Mortgage Servicing Rights and Obligations to
         the Money Source Inc. Free and Clear of Liens, Claims, Encumbrances, and Interests; (II)
         Approving the Terms of the Loan Servicing Rights Purchase and Sale Agreement; and
         (III) Granting Related Relief [Filed: 10/31/23] (Docket No. 374).

         Response Deadline: November 14, 2023 at 4:00 p.m. Eastern Time. Extended to
         November 16, 2023 at 4:00 p.m. Eastern Time for Fannie Mae. Extended to November
         16, 2023 for Ginnie Mae. Extended to November 17, 2023 at 12:00 p.m. Eastern Time
         for Freddie Mac.

         Responses Received:

         a) Informal Responses from Ginnie Mae and RCP.

         b) Limited Objection and Reservation of Rights of Federal National Mortgage
            Association to Debtors’ Motion for Entry of Order (I) Authorizing (A) Private Sale
            and (B) Transfer of Certain Servicing Rights and Obligations to the Money Source
            Inc. Free and Clear of Liens, Claims, Encumbrances, and Interests; (II) Approving the


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              Terms of the Loan Servicing Rights Purchase and Sale Agreement; and (III) Granting
              Related Relief [Filed: 11/16/23] (Docket No. 437).

             i. Declaration of Jordan A. Weber in Support of Limited Objection and Reservation of
                Rights of Federal National Mortgage Association to Debtors’ Motion for Entry of
                Order (I) Authorizing (A) Private Sale and (B) Transfer of Certain Servicing Rights
                and Obligations to the Money Source Inc. Free and Clear of Liens, Claims,
                Encumbrances, and Interests; (II) Approving the Terms of the Loan Servicing
                Rights Purchase and Sale Agreement; and (III) Granting Related Relief [Filed:
                11/17/23] (Docket No. 442).

         c) Limited Objection and Reservation of Rights of the Federal Home Loan Mortgage
            Corporation to Debtors’ Motion for Entry of Order (I) Authorizing (A) Private Sale
            and (B) Transfer of Certain Mortgage Servicing Rights and Obligations to the Money
            Source Inc. Free and Clear of Liens, Claims, Encumbrances, and Interests; (II)
            Approving the Terms of the Loan Servicing Rights Purchase and Sale Agreement;
            and (III) Granting Related Relief [Filed: 11/17/23] (Docket No. 446).

              i.    Notice of Withdrawal [Filed: 11/17/23] (Docket No. 451).

         d) Limited Objection and Reservation of Rights of the Federal Home Loan Mortgage
            Corporation to Debtors’ Motion for Entry of Order (I) Authorizing (A) Private Sale
            and (B) Transfer of Certain Mortgage Servicing Rights and Obligations to the Money
            Source Inc. Free and Clear of Liens, Claims, Encumbrances, and Interests; (II)
            Approving the Terms of the Loan Servicing Rights Purchase and Sale Agreement;
            and (III) Granting Related Relief [Filed: 11/17/23] (Docket No. 448).

         Related Documents: None as of the date hereof.

         Status: This matter will go forward.



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Dated: November 20, 2023            PACHULSKI STANG ZIEHL & JONES LLP
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